       Case 17-16984-amc         Doc 22
                                     Filed 01/09/18 Entered 01/09/18 14:02:43                  Desc Main
                                     Document Page 1 of 1
                              81,7('67$7(6%$1.5873&<&2857
                          )257+(($67(51',675,&72)3(116</9$1,$


       7+20$6.%$80*$571(5                                         &KDSWHU 



                              'HEWRU                 %DQNUXSWF\1R$0&


                                   2UGHU'LVPLVVLQJ&KDSWHU &DVHDQG
                                'LUHFWLQJ&RXQVHOWR)LOH0DVWHU0DLOLQJ/LVW

                            9th                     January
        $1'12:WKLVBBBBBBBBBBBBGD\RIBBBBBBBBBBBBBBBBBBBBXSRQFRQVLGHUDWLRQRIWKH0RWLRQ
                                                                                 8
WR'LVPLVVILOHGE\:LOOLDP&0LOOHUVWDQGLQJWUXVWHHWKLVFDVHLVGLVPLVVHGDQGLWLVIXUWKHU25'(5('WKDW
FRXQVHOIRUWKHGHEWRUVKDOOILOHDPDVWHUPDLOLQJOLVWZLWKWKHFOHUNRIWKH%DQNUXSWF\&RXUWFXUUHQWO\XSGDWHG
LIVXFKKDVQRWEHHQSUHYLRXVO\ILOHGDQGLWLVIXUWKHU

       25'(5('WKDWDQ\ZDJHRUGHUVDUHKHUHE\YDFDWHG




                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                   $VKHO\0&KDQ
                                                   %DQNUXSWF\-XGJH

:LOOLDP&0LOOHU7UXVWHH
32%R[
3KLODGHOSKLD3$ 

'HEWRU¶V$WWRUQH\
JOSEPH L QUINN
152 E HIGH ST
SUITE 100
POTTSTOWN, PA 19464-


'HEWRU
7+20$6.%$80*$571(5

 +20(67($'&2857

*,/%(5769,//(3$
